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 IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF
                           PENNSYLVANIA

TIM BURTON,                                    )
                                               )
                                               )
                                               )
                   Plaintiff,                  )
                                               )
            vs.                                )
                                               )    CIVIL ACTION NO.:
MARC ZIEGLER, in his Individual Capacity as    )    2:21-cv-1215
a Trooper for the Pennsylvania State Police,   )
                                               )
                                               )
                                               )     TYPE OF PLEADING:
                                               )     COMPLAINT.
                   Defendant.                  )
                                               )     Nature of Complaint:
                                               )     1983 Civil Rights Action
                                               )
                                               )     FILED ON BEHALF OF:
                                               )     Tim Burton
                                               )
                                               )
                                               )     COUNSEL OF RECORD:
                                               )
                                               )     Noah Geary, Esquire
                                               )     Suite 600
                                               )     the Mitchell Building
                                               )     304 Ross Street
                                               )     Pittsburgh, PA 15219
                                               )     412-232-7000
                                               )
                                               )     PA ID 78382


                                                     September 10, 2021



JURY TRIAL DEMANDED.




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